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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

- UNITED STATES OF AMERICA Criminal No.: / 8 "' CR ' 05 l (H£j>
v. Violation: 18 U.S.C. § lOOl(a)(2) (False
Statements)
ALEX VAN DER ZWAAN,
Defendant. ` F I L E D
FEB 20 2018
Clerk. u.s. Dismcr
STATEMM oF THE OFFENSE Courts for the Dlstric‘i oBfag|t‘)r|:lr)r:g|ya

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Pursuant to Federal Rule of Criminal Procedune 11, the United States of America and the
defendant, ALEX VAN DER ZWAAN, stipulate and agree that the following facts are true and
accurate. These facts do not constitute all of the facts known to the parties concerning the
charged offense; they are being submitted to demonstrate that sufficient facts exist that the
defendant committed the offense to which he is pleading guilty.

l. At all relevant times herein, the Special Counsel’s Off`ice had an open
investigation into Paul J. Manafort, Jr. and Richard W. Gates IlI in connection with, among other
things, their work in the United States on behalf of foreign principals as to Which they had not
registered under the Foreign- Agents Registration Act (FARA). The investigation encompassed
United States lobbying and public relations work on behalf of the Ukraine Ministry of Justice in
2012, including the dissemination to the United States media and others of a report written by an
international law firm (Law Finn A) concerning the trial of Yulia Tymoshenko (the Report). On
October 27, 2017, arising in part from this investigation, a Grand Jury indicted Manafort and
Gates, among other things, for acting as unregistered agents of a foreign principal in violation of

FARA, 22 U.S.C. §§ 615 and 618(a)(l). The indictment was unsealed on October 30, 2017.

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2. The defendant, ALEX VAN DER ZWAAN, was an Eng|ish lawyer associated
with Law F irm A. He had worked on the Report.

3. On November 3, 2017, in Washington, D.C., VAN DER ZWAAN was
interviewed by the Specia| Counsel’s Of`iice, including Department of Justice prosecutors and
Special Agents of the Federal Bureau of Investigation. He was represented by counsel. He was
warned that intentionally false statements to the Office could subject him to criminal charges.
He indicated that he understood

4. VAN DER ZWAAN thereafter made materially false statements during the
interview.

5. During the November 3, 2017, interview, VAN DER ZWAAN knowingly and
intentionally falsely stated the following:

a. his last communication with Gates was in mid-August 2016, which
consisted of an innocuous text message;

b. his last communication with a longtime business associate of Manafort
and Gates in Ukraine (Person A) was in 2014, when he talked with Person
A about Person A’s family; and

c. he did not know why Law Firm A had not produced to the Special
Counsel’s Off`lce a September 2016 e-mail between him and Person A.

6. In truth and in fact, VAN DER ZWAAN well knew and believed the following
facts, when he made each of the above statements:

a. In or about September 2016, VAN DER ZWAAN spoke with both Gates
and Person A regarding the Report. In early September 2016, Gates

called VAN DER ZWAAN and told him to contact Person A. After the

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call, Gates sent VAN DER ZWAAN documents including a preliminary
criminal complaint in Ukraine via an electronic application called Viber.
VAN DER ZWAAN then called Person A and discussed in Russian that
formal criminal charges might be brought against a former Ukrainian
Minister ofJustice, Law Firm A, and Manafort. VAN DER ZWAAN
recorded the call. VAN DER ZWAAN then called the senior partner on
the Report at Law F irm A and partially recorded that cal|. Finally, VAN
DER ZWAAN called Gates and recorded the ca|l. VAN DER ZWAAN
also took notes of the calls.

Prior to the November 3, 2017, interview, VAN DER ZWAAN did not
produce to Law Firm A and deleted and otherwise did not produce emails
he possessed that he understood had been requested by either the Special
Counsel’s Oft`ice or Law Firm A, or both, including an email in Russian
dated September 12, 2016 in which Person A asked VAN DER ZWAAN

to contact Person A and to use an encrypted application.

During the November 3, 2017, interview, VAN DER ZWAAN stated that he

played a passive role in the roll out of the Report, limited to defending the Report to ensure Law

F irm A’s work was properly portrayed. However, in or about late July-early August 2012, VAN

DER ZWAAN gave, without authorization, an advance draft of the Report to the public relations

firm retained by the Ukraine Ministry of J ustice to manage the global press and lobbying strategy

for the Report, and in September 2012 provided Gates talking points for usc in the public

relations campaign as to how to describe the Report in ways favorable to the client. For instance,

VAN DER ZWAAN advised that the text of the Report could be used to Ukraine’s advantage if

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one looked beyond the Report’s description of “procedural” infractions in 'l`ymoshenl\'o`s trial

and focused instead on the fact that her defense was weak.

ROBERT S. MUELLER, IIl
S cial Co nsel

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Andrew Weissmann `
Greg Donald Andres
Ky|e Freeny

Brian M. Richardson
Senior/Assistant Special Counsel

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DEFENDANT’S ACCEPTANCE

The preceding statement is a summary, made for the purpose of providing the Court with
a factual basis for my guilty plea to the charge against me. lt does not include all of the facts
known to me regarding this offense l make this statement knowingly and voluntarily and
because l am, in fact, guilty of the crime charged No threats have been made to me nor am l
under the influence of anything that could impede my ability to understand this Statement of the

Offense fully.

l have read every word of this Statement of the Offense, or have had it read to me.
Pursuant to Federal Rule of Criminal Procedure l l, after consulting with my attorneys, l agree
and stipulate to this Statement of the Offense, and declare under penalty of perjury that it is true
and correct. l am fully satisfied with the legal representation l have received in connection with

this plea.

 

Date: /(t' /:_?»5.~~-9,>¢ law/5

 

 

Alex van der Zwaan
Defendant

ATTORNEYS’ ACKNOWLEDGMENT

l have read this Statement of the Offense, and have reviewed it with my client fully. l
concur in my client’s desire to adopt and stipulate to this Statement of the Offense as true and

accurate

Date:

 

Wi lliam Schwartz
Attorney for Defendant

 

Laura Grossfield Birger
Attorney for Defendant

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Alex van der Zwaan
Defendant

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Date: EZ;/%¢ /(/&lg L §§ `N_-
Wimhmts_chwal§ j
Attorney fi.i`F`Be' ndant _
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Laffra Gross§@id Birger
Attorney for Defendant

       

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